          Case 2:19-bk-14693-BR                   Doc 64 Filed 12/08/21 Entered 12/08/21 16:59:12                                       Desc
                                                   Main Document    Page 1 of 2

 Chapter 7 Trustee Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., & Email Address


 Wesley H. Avery                                                                                         FILED & ENTERED
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                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY toliver    DEPUTY CLERK




                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA –LOS ANGELES DIIVISION

 In re:                                                                      CASE NO.: 2:19-bk-14693-BR
                                                                             CHAPTER: 7
 GOT NEWS, LLC,
                                                                                  ORDER ON TRUSTEE’S MOTION UNDER
                                                                                   LBR 2016-2 FOR AUTHORIZATION TO
                                                                                 EMPLOY PARAPROFESSIONALS AND/OR
                                                                                    AUTHORIZATION TO PAY FLAT FEE
                                                                                           TO TAX PREPARER
                                                                                   No hearing held
                                                                                   Hearing held
                                                                             DATE:
                                                                             TIME:
                                                                             COURTROOM:
                                                                             PLACE:
                                                              Debtor(s).



1.   The motion to employ                                                                                              as a paraprofessional is
        Granted         Denied.

2.   The motion to employ MENCHACA & COMPANY LLP as a tax preparer, and to pay $1,000.00 (not to exceed $1,000
     unless the court orders otherwise) to the tax preparer is
         Granted         Denied.

3. The motion is set for hearing on                   at                            and the trustee is directed to give notice to the United
   States trustee, all objecting parties or their attorneys.




          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

January 2016                                                            Page 1                        F 2016-2.1.ORDER.TRUSTEE.EMPLOY
         Case 2:19-bk-14693-BR                   Doc 64 Filed 12/08/21 Entered 12/08/21 16:59:12                                       Desc
                                                  Main Document    Page 2 of 2

4. By signing this order, the court is not making a judicial determination as to whether the services set forth in
   paragraphs 1.B or 1.C of the motion constitutes “trustee services.”

                                                                         ###




                Date: December 8, 2021




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January 2016                                                           Page 2                        F 2016-2.1.ORDER.TRUSTEE.EMPLOY
